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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

                                               )
  LATONYA SIMMS, on behalf of herself,         )
  and all others similarly situated,           )
                                               )
                                               )     Cause No. 1:14-CV-00737-WTL-DLP
                 Plaintiff,
  v.                                           )
                                               )
  EXACTTARGET, LLC,                            )
                                               )
                                               )
                 Defendant.                    )

             JOINT NOTICE REGARDING CHANGE TO INTERNET BANNER

         Plaintiff Latonya Simms (“Plaintiff”) and defendant ExactTarget, LLC (“ExactTarget”)

  respectfully submit this joint notice advising the Court of a change to the form of the Internet

  Banner Notice that the parties intend to use as part of the Court-approved notice plan.

  Specifically, the Claims Administrator has recommended that the Internet Banner Notice utilize

  a different stock photo in the background. The original form of the Internet Banner Notice was

  submitted to the Court along with Plaintiff’s Unopposed Motion for Preliminary Approval of

  Class Action Settlement. See Dkt. 159-2 at 44-45 (Exhibit C to the Class Action Settlement

  Agreement and Release). A copy of the original form of Internet Banner Notice is also attached

  hereto as Exhibit 1. While the substitution of the background photo is not a material change to

  the Internet Banner Notice or the Settlement Agreement, the parties wanted to notify the Court of

  the substitution as the original Internet Banner Notice was previously submitted to the Court.

  The revised form of Internet Banner Notice is attached hereto as Exhibit 2. Counsel are

  available should the Court wish to discuss the Claims Administrator’s reasoning for the change.
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  Dated: March 14, 2018           Respectfully submitted,


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                                  Professional Corporation

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                                  Counsel for Defendant ExactTarget, LLC


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                                  Counsel for Plaintiff and the Proposed Class




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 14th day of March, 2018, a true and correct copy of the

  foregoing JOINT NOTICE REGARDING CHANGE TO INTERNET BANNER was filed

  electronically, and will be available for viewing and downloading from the Court’s CM/ECF

  System. Notice of this filing will be sent to all counsel of record by operation of the Court’s

  CM/ECF System.



                                            WILSON SONSINI GOODRICH & ROSATI
                                            Professional Corporation

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